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8
     Attorneys of Record for Plaintiff,
     Bryan Estrada
9

10                          UNITED STATES DISTRICT COURT
11                         CENTRAL DISTRICT OF CALIFORNIA
12

13   Bryan Estrada,                                 Case No. 5:21-cv-1749
14

15                    Plaintiff,                    COMPLAINT
16
                      v.
17

18   Judy J. Whitson; John Peterson and Does 1-
19   10, inclusive,
20
                Defendants.
21

22
           Plaintiff, Bryan Estrada, hereby complains and alleges as follows:
23

24
                                   NATURE OF THE ACTION
25
                  1. This is an action seeking to remedy unlawful discrimination by
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28                                          -1-
                                          COMPLAINT
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1
     the Defendants against the Plaintiff in the Defendants’ places of public

2    accommodation in violation of the Americans with Disabilities Act [42 U.S.C. §
3    12101, et seq.] (the “ADA”).
4

5                                         PARTIES
6                 2. Plaintiff, Bryan Estrada, is a paraplegic resident of the state of
7
     California who requires the use of a wheelchair for mobility purposes and who is
8
     therefore a “person with a disability” within the meaning of the ADA and
9
     Cal.Government Code § 12926.
10
                  3. The Defendants (defined below) discriminates against
11
     People with mobility disabilities in the full and equal enjoyment of the goods,
12
     services, facilities, privileges, advantages, or accommodations on the basis of their
13

14
     mobility disability at the Subject Property (defined below) in violation of the ADA

15   [42 U.S.C. §§ 12182(a), 12182(b)(2)(A)(iv) and 12182(b)(2)(A)(v)].
16                4. The Defendant’s failure to make reasonable modifications in
17   policies, practices, or procedures when such modifications are necessary to afford
18   goods, services, facilities, privileges, advantages, or accommodations to
19   individuals with disabilities prevented people with mobility disabilities from
20   enjoying fair and equal access to the Subject Property (defined below) in violation
21
     of the ADA [42 U.S.C. § 12182(b)(2)(A)(ii)].
22
                  5. Defendant, Judy J. Whitson, owns, operates, or leases
23
     real property located at 620 N Main St Corona, CA 92880, also known as
24
     Riverside County Assessor’s Parcel No. 119-262-004 (the “Subject Property”).
25
                  6. Defendant, John Peterson, owns, operates, or leases
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28                                           -2-
                                           COMPLAINT
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1
     real property located at 620 N Main St Corona, CA 92880, also known as

2    Riverside County Assessor’s Parcel No. 119-262-004 (the “Subject Property”).
3                  7. The Subject Property is a commercial facility open to the general
4    public, is a public accommodation, and is a business establishment insofar as
5    goods and/or services are made available to the general public thereat. Defendant
6    Does 1 through 10, inclusive, are sued herein under fictitious names. Their true
7
     names and capacities are unknown to the Plaintiff. When their true names and
8
     capacities are ascertained, Plaintiff will amend this complaint by inserting their
9
     true names and capacities herein. Plaintiff is informed and believes and thereon
10
     alleges that each of the fictitiously named Defendants are responsible in some
11
     manner for the occurrences herein alleged, and that the harm to Plaintiff herein
12
     alleged were proximately caused by those Defendants.
13

14

15                              JURISDICTION AND VENUE
16                 8. This Court has jurisdiction over the subject matter of this action
17   pursuant 28 U.S.C. § 1331and28 U.S.C. §§1343(a)(3) and 1343(a)(4) for violations
18   of the ADA.
19                 9. Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)
20   based on the fact that the real property that is the subject of this action is located in
21
     this district and the Plaintiff’s causes of action arose in this district.
22

23
                                   STATEMENT OF FACTS
24
                   10. Parking spaces, accessible aisles, paths of travel, signage,
25

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28                                             -3-
                                             COMPLAINT
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1
     doorways, service counters, customer areas and goods/services are among the

2    facilities, privileges and advantages offered by the Defendants to patrons of the
3    Subject Property.
4                 11. The Subject Property does not comply with the minimum
5    requirements of the ADA and is therefore not equally accessible to persons with
6    mobility disabilities.
7
                  12. In January, 2021 and continuously from that time to the
8
     Present, and currently, the Subject Property has not been in compliance with the
9
     ADA (the “Barriers”):
10
                         A.    The designated “accessible” parking space at the Subject
11
     Property is smaller than permitted by the ADA:
12

13

14

15

16

17

18

19

20                       B.    The designated “accessible” parking space at the Subject
21   Property does not provide accessible parking signage as required by the ADA.
22   Among other things, it fails to provide tow-away signage and “Minimum Fine
23   $250” signage as required by the ADA and state law to be posted near the
24

25

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27

28                                           -4-
                                           COMPLAINT
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1
     designated accessible parking space:

2

3

4

5

6

7

8
                        C.     There was no designated “van accessible” parking space
9
     with a corresponding 96” access aisle opposite the driver’s side when the vehicle is
10
     going forward into the parking space and no sign or additional language stating
11

12
     “Van Accessible” below the symbol of accessibility located in a manner that is not
13   obstructed:
14

15

16

17

18

19

20                      D.     There were no accessible paths of travel from public
21   transportations stops, accessible parking, public streets and sidewalks to the
22   building entrances serving the Subject Property:
23

24

25

26

27

28                                            -5-
                                            COMPLAINT
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1
                         E.    The service counters, point of sale machines and/or self-

2    serve equipment serving the Subject Property are not within an operable reach
3    range in that they are too high.
4

5

6

7

8

9

10

11                       F.    There was no diagonal striped marking and no blue
12   border around where an access aisle is supposed to exist adjacent to any designated
13   accessible parking space serving the Subject Property.
14

15

16

17

18

19

20
                         G.    There is no twelve-inch high “NO PARKING” lettering
21
     on any blue-striped parking access aisle serving the Subject Property.
22

23

24

25

26

27

28                                          -6-
                                          COMPLAINT
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1
                  13. Plaintiff personally encountered one or more of the Barriers

2    at the Subject Property in January, 2021, including a lack of ADA compliant
3    accessible parking and path of travel. The barriers affected Plaintiff as a result of
4    his mobility disability because he had no designated safe space to assemble or
5    disassemble his wheelchair to enter or exit his vehicle, and he could not exit his
6    vehicle for fear of being blocked in by another parked car.
7
                  14. Between January, 2021 and the present, the Plaintiff had personal
8
     knowledge of the existence of Barriers at the Subject Property. Plaintiff is aware
9
     that the Subject Property includes other access barriers including an interior
10
     customer transaction / service counter that is too high.
11
                  15. The existence of Barriers, the implementation of discriminatory
12
     policies, practices and procedures, and other ADA violations at the Subject
13

14
     Property reasonably dissuaded or deterred Plaintiff from accessing the Subject

15   Property on a particular occasion between January, 2021 and the present. The
16   Subject Property is within a few miles of Plaintiff’s place of employment and in is
17   an area he frequents regularly.
18                16. On information and belief, the remediation of violations
19   identified hereinabove, to be identified by the Defendants in discovery, and to be
20   discovered by Plaintiff’s experts are all readily achievable in that the removal of
21
     them by the Defendants is and has been easily accomplishable without much
22
     difficulty or expense.
23
                  17. Defendants violated the ADA by failing to remove all mobility-
24
     related architectural barriers at the Subject Property. On information and belief,
25
     Plaintiff alleges that the failure to remove barriers has been knowing, willful and
26
     intentional because the barriers described herein are clearly visible and tend to be
27

28                                           -7-
                                           COMPLAINT
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1
     obvious even to a casual observer and because the Defendants operate the Subject

2    Property and have control over conditions thereat and as such they have, and have
3    had, the means and ability to make the necessary remediation of access barriers if
4    they had ever so intended.
5                 18. On information and belief, access barriers at the Subject
6    Property are being consciously ignored by the Defendants; the Defendants have
7
     knowingly disregarded the ongoing duty to remove the Barriers in compliance with
8
     the ADA. Plaintiff further alleges on information and belief that there are other
9
     ADA violations and unlawful architectural barriers at the Subject Property that
10
     relate to Plaintiff’s mobility disability that will be determined in discovery, the
11
     remediation of which is required under the ADA.
12
                  19. Plaintiff hereby seeks to remediate and remove all barriers
13

14
     related to his mobility disability, whether presently known or unknown and intends

15   to return to the Subject Property to observe and confirm whether access barriers
16   have been removed.
17                20. Even if strictly compliant barrier removal were determined to
18   be structurally or otherwise impracticable, there are many alternative methods of
19   providing accommodations that are readily apparent and that could provide a
20   greater degree of accessibility to the Plaintiff and similarly situated persons but for
21
     the Defendants’ discriminatory policies, practices and procedures and Defendants’
22
     conscious indifference to their legal obligations and to the rights of persons with
23
     mobility disabilities. Defendants’ failure to implement reasonable available
24
     alternative methods of providing access violates the ADA [42 U.S.C. §
25
     12182(b)(2)(A)(v)].
26
                  21. The violations and references to code sections herein are not
27

28                                            -8-
                                            COMPLAINT
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1
     all-inclusive. Plaintiff will amend this complaint to provide a complete description

2    of the full scope of ADA violations after conducting a comprehensive expert site
3    inspection and other discovery. For the purposes of this Complaint, Plaintiff asserts
4    that the barriers alleged herein violate one or more of the ADA’s implementing
5    regulations. The Defendants have maintained and continue to maintain
6    discriminatory policies, procedures and practices that disregard their obligations
7
     under the ADA by allocating resources for physical improvements to the Subject
8
     Property that were did not provide legally required accessibility improvements, by
9
     failing to conduct ADA self-inspections or create ADA compliance plans
10
     regarding the Subject Property, by causing alterations to be made to the Subject
11
     Property in disregard of ADA requirements, and for failing and refusing to make
12
     necessary accommodations for persons with mobility disabilities at the Subject
13

14
     Property. Plaintiff seeks a declaration that the Defendants’ disability rights

15   compliance policies, procedures and practices are discriminatory and violate the
16   ADA.
17

18                             FIRST CAUSE OF ACTION
19
                              Discrimination Based on Disability
                                 [42 U.S.C. §§ 12101, et seq.]
20                            By Plaintiff against all Defendants
21

22                22. Plaintiff re-alleges and incorporates by reference as though
23   fully set forth herein the allegations contained in all prior paragraphs of this
24   complaint.
25
                  23. The ADA obligates owners, operators, lessees and lessors of
26
     public accommodations to ensure that the privileges, advantages, accommodations,
27
     facilities, goods and services are offered fully and equally to persons with
28                                            -9-
                                            COMPLAINT
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 1
      disabilities, including the Plaintiff and others similarly situated [42 U.S.C. §

 2    12182(a)].
 3                 24. Discrimination is defined in the ADA, inter alia, as follows:
 4                        A.     A failure to remove architectural barriers where such
 5    removal is readily achievable [42 U.S.C. § 12182(b)(2)(A)(iv)]. Architectural
 6    barriers are identified and described in the Americans with Disabilities Act
 7
      Accessibility Guidelines (the “ADAAG”) [28 C.F.R. Part 36, Appendix “D”].
 8
                          B.     A failure to make alterations in such a manner that, to the
 9
      maximum extent feasible, the altered portions of the facility are readily accessible
 10
      to and usable by individuals with disabilities, including individuals who use
 11
      wheelchairs or to ensure that, to the maximum extent feasible, the path of travel to
 12
      the altered area and the bathrooms, telephones, and drinking fountains serving the
 13

 14
      altered area, are readily accessible to and usable by individuals with disabilities [42

 15   U.S.C. § 12183(a)(2)].
 16                       C.     Where an entity can demonstrate that the removal of a
 17   barrier is not readily achievable, a failure to make such goods, services, facilities,
 18   privileges, advantages, or accommodations available through alternative methods
 19   if such methods are readily achievable [42 U.S.C. § 12182(b)(2)(A)(v)].
 20                       D.     A failure to make reasonable modifications in
 21
      policies, practices, or procedures, when such modifications are necessary to afford
 22
      such goods, services, facilities, privileges, advantages, or accommodations to
 23
      individuals with disabilities, unless the entity can demonstrate that making such
 24
      modifications would fundamentally alter the nature of such goods, services,
 25
      facilities, privileges, advantages, or accommodations [42 U.S.C. §
 26
      12182(b)(2)(A)(ii)].
 27

 28                                            -10-
                                             COMPLAINT
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 1
                  25. The ADA, the ADAAG’s 1991 Standards (the “1991

 2    Standards”) and 2010 Standards (the “2010 Standards”), and the California
 3    Building Code (the “CBC”) contain minimum standards that constitute legal
 4    requirements regarding wheelchair accessibility at places of public
 5    accommodation:
 6                       A.    To properly and effectively reserve a parking space for
 7
      persons with disabilities, each parking space must be at least 216 inches in length
 8
      [CBC § 11B-502.2].
 9
                         B.    Each parking space reserved for persons with disabilities
 10
      shall be identified by a reflectorized sign permanently posted immediately
 11
      adjacent to and visible from each stall or space, consisting of the International
 12
      Symbol of Accessibility in white on a dark blue background. The sign shall not be
 13

 14
      smaller than 70 square inches (4516 mm2) in area and, when in a path of travel,

 15   shall be posted at a minimum height of 80 inches (2032 mm) from the bottom of
 16   the sign to the parking space finished grade. Signs may also be centered on the
 17   wall at the interior end of the parking space. An additional sign or additional
 18   language below the symbol of accessibility shall state "Minimum Fine $250"
 19   [2010 Standards § 502.6; CBC § 1129B.4].
 20                      C.    One in every eight accessible spaces, but not less than
 21
      one, must be served by a loading and unloading access aisle 96 inches (2438 mm)
 22
      wide minimum placed on the side opposite the driver’s side when the vehicle is
 23
      going forward into the parking space and shall be designated van accessible. Van
 24
      accessible spaces must have an additional sign or additional language stating "Van
 25
      Accessible" below the symbol of accessibility. Signs identifying accessible
 26
      parking spaces must be located so they cannot be obscured by a vehicle parked in
 27

 28                                          -11-
                                           COMPLAINT
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 1
      the space[1991 Standards § 4.6; 2010 Standards §§ 502; CBC §§ 1129B.3

 2    and B4].
 3                        D.     At least one accessible route must be provided from
 4    public transportation stops, accessible parking, and accessible passenger
 5    loading zones, and public streets or sidewalks to the accessible building
 6    entrance they serve. The accessible route must, to the maximum extent
 7    feasible, coincide with the route for the general public, must connect
 8    accessible buildings, facilities, elements, and spaces that are on the same
 9    site, and at least one accessible route must connect accessible building or
 10   facility entrances with all accessible spaces and elements and with all
 11   accessible dwelling units within the building or facility [1991 Standards
 12   §§4.1.2(1) and 4.3.2; 2010 Standards §§206 and 401].
 13
                          E.     In public accommodations where counters have cash
 14
      registers or are provided for sales or distribution of goods or services to the public,
 15
      at least one of each type of counter must have a portion that is at least 36 in
 16
      (915mm) in length with a maximum height of 36 in (915 mm) above the finished
 17
      floor. The checkout counter surface height can be no more than 38 inches
 18
      maximum above the finished floor or ground. The top of the counter edge
 19

 20
      protection can be up to 2 inches above the top of the counter surface on the

 21
      aisle side of the checkout counter. Clear floor space that allows a forward

 22   or parallel approach by a person using a wheelchair must be provided at
 23   controls, dispensers, receptacles and other operable equipment [1991
 24   Standards §§ 7.1(1), 7.2, 4.27.2; 2010 Standards §§ 309.2, 902.3, 904.3.2 and
 25   904.3.3].
 26                       F.     To qualify as a reserved handicap parking space, the
 27   space must be properly marked and designated. Under the ADA, the method,
 28                                            -12-
                                             COMPLAINT
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 1
      color of marking and length of the parking space are to be addressed by state or

 2    local laws of regulations [1991 Standards § 4.6; 2010 Standards §§ 502, 502.3.3
 3    and 503].
 4                      G.    To properly and effectively reserve a parking space for
 5    persons with disabilities, the surface of the access aisle must have a blue
 6    border; the words “NO PARKING” in letters at least a foot high must be
 7    painted on the access aisle [CBC § 1129B.3].
 8                26.   The Defendants have failed to comply with minimum
 9
      ADA standards and have discriminated against persons with mobility
 10
      disabilities on the basis of thereof. Each of the barriers and accessibility
 11
      violations set forth above is readily achievable to remove, is the result of an
 12
      alteration that was completed without meeting minimum ADA standards,
 13
      or could be easily remediated by implementation of one or more available
 14
      alternative accommodations. Accordingly, the Defendants have violated the
 15
      ADA.
 16
                  27.   The Defendants are obligated to maintain in operable
 17
      working condition those features of the Subject Property’s facilities and
 18
      equipment that are required to be readily accessible to and usable by
 19
      Plaintiff and similarly situated persons with disabilities [28 C.F.R. §
 20

 21
      36.211(a)]. The Defendants failure to ensure that accessible facilities at the

 22
      Subject Property were available and ready to be used by the Plaintiff

 23   violates the ADA.
 24               28.   The Defendants have a duty to remove architectural
 25   barriers where readily achievable, to make alterations that are consistent
 26   with minimum ADA standards and to provide alternative accommodations
 27   where necessary to provide wheelchair access. The Defendants benign
 28                                         -13-
                                          COMPLAINT
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 1
      neglect of these duties, together with their general apathy and indifference

 2
      towards persons with disabilities, violates the ADA.
 3                 29.   The Defendants have an obligation to maintain policies,
 4    practices and procedures that do not discriminate against the Plaintiff and
 5    similarly situated persons with mobility disabilities on the basis of their
 6    disabilities. The Defendants have maintained and continue to maintain a policy of
 7    disregarding their obligations under the ADA, of allocating resources for
 8    improvements insufficient to satisfy legal requirements regarding accessibility
 9    improvements, of failing to conduct ADA self-inspections or create ADA
 10
      compliance plans, of causing alterations to be made to the Subject Property in
 11
      disregard of ADA requirements, and of failing and refusing to make necessary
 12
      accommodations for persons with mobility disabilities at the Subject Property, in
 13
      violation of the ADA.
 14
                   30.   The Defendants wrongful conduct is continuing in that
 15
      Defendants continue to deny full, fair and equal access to their business
 16
      establishment and full, fair and equal accommodations, advantages,
 17
      facilities, privileges and services to Plaintiff as a disabled person due to
 18

 19
      Plaintiff’s disability. The foregoing conduct constitutes unlawful

 20   discrimination against the Plaintiff and other mobility disabled persons
 21   who, like the Plaintiff, will benefit from an order that the Defendants
 22   remove barriers and improve access by complying with minimum ADA
 23   standards.
 24

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 28                                          -14-
                                           COMPLAINT
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 1
                                PRAYER FOR RELIEF

 2
            Plaintiff prays to this Court for injunctive, declaratory and all other
 3    appropriate relief under the ADA , including but not limited to reasonable
 4    attorney’s fees, litigation expenses and costs of suit pursuant to 42 U.S.C. §
 5    12205.
 6          Note: Plaintiff is not invoking Cal. Civil Code § 55 and does
            not seek injunctive relief under the Unruh Act or Disabled Persons
 7
            Act at all by way of this action.
 8
      Respectfully submitted,
 9

 10   Dated: 10/15/2021             LAW OFFICES OF ROSS CORNELL, APC
 11

 12                                 By: /s/ Ross Cornell
 13                                     Ross Cornell, Esq.,
                                        Attorneys for Plaintiff,
 14
                                        Bryan Estrada
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 28                                        -15-
                                         COMPLAINT
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